         Case 3:20-cv-01589-G          Document 1        Filed 06/16/20      Page 1 of 10       PageID 1

                              lNTHE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS

                                          DALLAS DIVISION


 QUINCY GILSTRAP


               Plaintiff
                                                                  CIVIL ACTION NO.:
URT TEXAS, INC., MART CAUDLE
CORPORATION, D.B.A. WALNUT
HILL WRECKER and URT DALLAS
TOWING, INC. AND UNITED ROAD
TOWING, INC.
               Defendants




                                   PLAINTIFF'S ORIGINAL COMPLAINT
              COMES NOW, Quincy Gilstrap, Plaintiff herein, and complains of Defendants, URT

       Texas, Inc., URT Dallas Towing, Inc., Mart Caudle Corporation, D.B.A. Walnut Hill Wrecker, and

       United Road Towing, Inc., in this action and for cause of action would respectfully show the

       following:



                                         JURISDICTION AND VENUE
              This action alleges violations of Title VJJ of the Civil Rights Act of 1964, 42 U.S.C. 2000-e,

       et seq., and Jurisdiction is founded on 42 U.S.C. 2000-e, et seq., 28 U.S.C. § § 1331, 1343

       (1)(2)(3)(4). Venue is proper in the Northern District of Texas, Dallas Division, pursuant to 28

       U.S.C. § 1391 because the claims arose in this district.




                                                     PARTIES
              1)      Plaintiff, Quincy Gilstrap is an individual residing in Dallas County, Texas.

      At all times relevant hereto, Plaintiff was an employed by the following by Defendants:
       Case 3:20-cv-01589-G            Document 1       Filed 06/16/20       Page 2 of 10       PageID 2
    a. URT Texas, Inc., located at 18861 90th Ave, Suite E, Mokena, lllinois 60448

     b. URT Dallas Towing, Inc., located at 18861 90th Ave, Suite E, Mokena, Tllinois 60448

    c. Mart Caudle Corporation, D.B.A. Walnut Hill Wrecker, and/or

    d. United Road Towing, Inc., located at l8861 90th Ave, Suite E, Mokena, Illinois 60448 and/or

        11239 Goodnight Lane, Dallas, Texas 75229.

    Plaintiff has been subjected to unlawful employment practices committed in the State of Texas by

employees, agents and/or representatives of Defendants.




        2)         Defendants, URT Texas, Inc., URT Dallas Towing, Inc., Mart Caudle Corporation,

     D.B.A. Walnut Hill Wrecker, and/or United Road Towing, Inc., are corporations and employers

     within the meaning of Title VTT of the Civil Rights Act of 1964, 42 U.S.C. 2000-e, et. seq, and are

     doing business in the State of Texas. All Defendants may be served by serving their registered

     agent Corporation Service Company OBA CSC- LAW, 211 E. 7 th Street, Austin, Texas 78701.


                                      PROCEDURAL REQUIREMENTS

             3)    Plaintiff has timely filed charges of race and retaliation discrimination with the EEOC,

     alleging violation of Title VII of the Civil Rights Acts of 1964, as amended, 42 U.S.C.A., 2000-e, et

     seq. Plaintiff has complied with aU administrative requirements for perfecting bis Charge.

     On March 17, 2020, the EEOC issued Plaintiff a Notice of Right to Sue and Plaintiff filed this

     Complaint within 90 days from receipt of such notice. The Charge of Discrimination and Right to

     Sue Letter are attached hereto and incorporated herein by reference, as Exhibit A and Exhibit B,

     respectively.

                                     FACTUAL SUMMARY

              4)     Beginning in October 2018 and continuing through June 19, 2019, Plaintiff was

     repeatedly subjected discrimination based on his race, black and retaliation. On June 19, 2019
   Case 3:20-cv-01589-G           Document 1         Filed 06/16/20        Page 3 of 10       PageID 3




Plaintiffs employment terminated based his race and retaliation. During October 2018 through June

19, 2020 Plaintiff was subjected to a hostile working environment and different terms and conditions

of employment based on his race and was retaliated against Plaintiff after he complained about

discrimination at his worksite.

     5)       On or about October 18, 2019, a White employee, Virgil Anderson, a Mechanics'

 Supervisor was yelling and cussing at Plaintiff, which was witnessed by other employees called him

 "nigger". Defendant failed to take any correction taken against Virgil Anderson, related to this

incident.

     6)     On or about January 3, 2019, a White tow truck contractor of Defendant was dropping off

towed vehicles to Defendant's yard and there was a dispute that occurred between Plaintiff and the

contractor's driver regarding where a vehicle was to be dropped in the yard. The reached toward gun

in his waist area and threatened to shoot Plaintiff. Plaintiff reported the incident to Defendant' s

Operational Manager, however there was no action taken against the White contractor as he was

allowed to continue to drop vehicles off at Defendant's yard where Plaintiff was working.

  7) On or about November 27, 2018 a co-worker, intentionally broke the windsheild of Plaintiff's

personal vehicle. Defendant took no action against related to this incident.

   8) On or about February 2019, a White female and repeat customer of Defendants' called

Plaintiff "nigger". Defendant failed to take any action related to the incident such as banning the

customer from their premises.

  9) Defendant retaliated against Plaintiff by not approving paid time off related to his

grandmother's hospitalization and related to his wife' s pregnancy and he was told that such time had

to be requested in advance. However, White and Hispanic employees were routinely allowed paid to

time off work for similar requests for time off, without the requirement of requesting such time off,
   Case 3:20-cv-01589-G          Document 1        Filed 06/16/20        Page 4 of 10       PageID 4

in advance.

  I 0) In addition, In early April 2020, Defendant laid off Plaintiff's father, an employee of

Defendants for over 20 years, shortly after the EEOC issued Plaintiffs Notice of Right to Sue on

March 17, 2020.




                               CAUSES OF ACTION
  11) The Plaintiff herein reaffirms and reaffirms each and every assertion set forth in

  this Complaint and further claims that:

   12)    Plaintiff was subjected to race and retaliation discrimination, which caused

  Plaintiffs termination of employment with the Defendant, resulted from discrimination

  based of his race, Black and the retaliation.

  13)    Within 300 days of the acts of which he complains, Plaintiff filed a Charge of

  Discrimination with the Equal Employment Opportunity Commission (EEOC). Any

  allegations in this action which pertain to events prior to 300 days before the EEOC Charges

  pertain to the allegations of continuing violation.

   14) This suit is timely filed in accordance therewith. Defendant is the direct

  cause of Plaintiffs injuries including, but not limited to compensatory and punitive damages,

  attorney's fees, pre-judgment and post-judgment interest and any other such other and further relief,

 at law or in equity, as the Court deems necessary and proper.



                            COURT COSTS AND ATTORNEY'S FEES

    15) The Plaintiff herein reaffirms and alleges each and every assertion set forth in the

   complaint and further claims that:

    16) As a result of Defendant's wrongful conduct, Plaintiff was compelled to retain Brenda J.
  Case 3:20-cv-01589-G             Document 1        Filed 06/16/20       Page 5 of 10         PageID 5

Williams to represent him the matter. Pursuant to 42 U .S.C Section 1988, and the considerations

related to punitive damages, Plaintiff seeks his reasonable and necessary attorney's fees and court

costs.


                                          JURY DEMAND


         17) Plaintiff demands a trial by jury in each and every issue of fact raised by the

complaint.




                                                PRAYER
 18)       WHEREFORE, Plaintiff prays for judgment against Defendants for compensatory, punitive

 and general damages, back pay, front pay, and declaratory and injunctive relief, attorneys' fees,

 costs and interest and such other and further general relief in law or equity to which Plaintiff may

 be reasonably entitled.


                                                         Respectfully submitted,



                                                         Isl Brenda,,_ T. Wtlli:a,m,,
                                                         Brenda J. Williams
                                                         SBN21515300
                                                         Bank of America, Oak Cliff Tower
                                                         400 South Zang Blvd., Suite 1200
                                                         Dallas, Texas 75208
                                                         (214) 946-0865(tel)
                                                         (214) 948-3038(fax)
                                                         bwilliams@bjwilliamslaw.com
                                                         ATTORNEY FOR PLAINTIFF
             Case 3:20-cv-01589-G                    Document 1              Filed 06/16/20              Page 6 of 10               PageID 6
EEOC Form 5 (11/09)

                                                                                                                                Agency(ies) Charge
                      CHARGE OF DISCRIMINATION                                             Charge Presented To:
                                                                                                                                No(s):
        This form is affected by the Privacy Act of 1974. See enclosed Privacy Act
               Statement and other information before completing this form.
                                                                                                □ FEPA
                                                                                                IBJ   EEOC                        450-2019-05519
                                       Texas Workforce Commission Civil Rights Division                                                      and EEOC
                                                                State or local Agency, if any
Name (indica te Mr. , Ms. , Mrs.)                                                                             Home Phone                   Year of Birth

Mr. Quincy R Gilstrap                                                                                   (469) 778-8384
Street Address                                                           City, State and ZIP Code

1602 E Frankford, Apt 2206, CARROLLTON, TX 75007

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency
That I Believe Discriminated Against Me or Others. (If more than two, list under PARTICULARS below.)
Name                                                                                                  No . Employees, Members            Phone No.

WALNUT HILL WRECKER                                                                                                                 (972) 620-2160
Street Address                                                           City, State and ZIP Code

11239 Goodnight In, DALLAS, TX 75229

Name                                                                                                  No. Employees, Members             Phone No.


Street Address                                                           City, State and ZIP Code




DISCRIMINATION BASED ON (Check appropriate box(es).)                                                           DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                     Earliest             Latest
  0       RACE        □ COLOR           □ SEX
                                                         □
                                                                 RELIGION    □ NATIONAL ORIGIN                  10-01-2018               06-19-2019
        0     RETALIATION           □ AGE
                                                □
                                                       DISABILITY       □ GENETIC INFORMATION
               □ OTHER (Specify)                                                                                      □ CONTINUING ACTION
THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):
  I.     PERSONAL HARM:

  On or about October 2019 I complained to Terra Wolfe that I was being discriminated because of my
  race.

  On or about June 19, 2019, after being subjected to a hostile work environment and different terms and
  conditions because of my race, I felt forced to resign.

  II. RESPONDENTS REASON FOR ADVERSE ACTION:

  No reason was given.

  Ill. DISCRIMINATION STATEMENT:
  I believe I have been discriminated aaainst because of my race (black), in violation of Title VII of the Civil
I want th is charge filed w ith both the EEOC and the State or local Agency.         NOTARY - When necessary for State and Local Agency Requirements
if any . I will advise the agencies if I change my address or phone number
and I wi ll cooperate fully with t hem in the processing of my charge in
accordance with the ir procedures.                                                   I swear or affirm that I have read the above charge and that it
I declare under penalty of perjury that the above is true and correct.               is true to the best of my knowledge, information and belief.
                                                                                     SIGNATURE OF COM PU>,I NANT


       Digitally signed by Quincy Gilstrap on 10-04-2019 12:00                       SUBSCRIBED AND SWORN TO BEFORE ME TH IS DATE
                               AM EDT                                                (month, day, yea!)
            Case 3:20-cv-01589-G                    Document 1              Filed 06/16/20               Page 7 of 10       PageID 7
EEOC Form 5 (ll/09 )
                                                                                                                        Agency(ies) Charge
                       CHARGE OF DISCRIMINATION                                            Charge Presented To:
                                                                                                                        No(s):
       This form is affected by the Privacy Act of 1974. See enclosed Privacy Act
              Statement and other information before compl eting t his form.
                                                                                                □ FEPA
                                                                                                [R] EEOC                  450-2019-05519
                                      Texas Workforce Commission Civil Rights Division                                                 and EEOC
                                                                State or local Agency, if any
  Rights Act of 1964, as amended. I also believe I have been retaliated against in violation of Section
  704(a) of Title VII of the Civil Rights Act of 1964, as amended.




I want this charge filed with both the EEOC and the State or local Agency,          NOTARY - When necessary for State and Local Agency Requirements
if any. I wil l advise the ag encies if I change my address or phone number
and I will cooperate f ully with them in the processing of my charge in
accordance with the ir proced ures .                                                I swear or affirm that I have read the above charge and that it
I declare under penalty of perjury that the above is true and correct.              is true to the best of my knowledge, information and belief.
                                                                                    SIGNATURE OF COMPLAINANT


     Digitally signed by Quincy Gilstrap on 10-04-2019 12:00                        SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                             AM EDT                                                 (month, day, yeal)
             Case 3:20-cv-01589-G                      Document 1               Filed 06/16/20         Page 8 of 10          PageID 8
EEOC Form 161-B (11M&l                  u. : ,QUAL EMPLOYMENT OPPORTUNITY cof                           3SION

                                       NOTICE OF RIGHT TO Sue (ISSUED ON REQUEST)
To:    Quincy R. GIistrap                                                                 From:   Dallas District Office
       1602 E Frankford, Apt 2206                                                                 207 S. Houston St
       Carrollton, TX 75007                                                                       3rd Floor
                                                                                                  Dallas, TX 75202




       D        On behalf of person(s) aggrieved whose fdrmtlty is
                CONFIDENTTAL (29 CFR §1601. 7(a))

EE.CC Charge No.                                        EEOC Representative                                                Telephone No,
                                                        Tammy R. Johnson,
 450-2019..05519                                        Enforcement Supervisor                                             (972) 918-3627
                                                                                       (See also the additional infannatian enclosed with this form.)
NOTICE TO THE PERSON AGGRIEVED:
Title VU of the Clvll Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic lnfonnatlon Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above.numbered charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be flied In a federal or state court WITHIN 90 DAYS
of yoiir receipt of this notice; or your right to sue based on this charge will be lost. {The time limit for filing suit based on a claim under
state law may be different.)


       □
       [TI
                More than 180 days have passed since the filing of this charge.

                Less than 180 days have passed since 1he filing of this charge, but I have detennined that It is unlikely that the EEOC will
                be able to complete its administrative processing within 180 days from the filing of this charge.
       [KJ      The EEOC is terminating its processing of this charge .

       D        The EEOC will continue to process this charge .

Age Discrimination in Employment Act (ADEA): You may sue under the ACEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In thls regard, the paragraph marked below applies to
your case:
       D         The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be flied In federal or state court WITHIN
                 90 DAYS of your receipt of this Notice, Otherwise, your right to sue based on the above-numbered charge will be lost.

       D         The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
                 you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state coort v.-ilhin 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 vears (3 years) before you fire suit may not be collectlble.

If you file suit, based on 1his charge, please send a copy of you: court complaint to this office.
                                                              :?     /(
                                                                          1
                                                                                                  mission




 Enclosures(s)                                                            Belinda F. McCallister,                                (Date Msi/od}



 cc:          Mary Kay K. Conley        /
                                                  1/
                                                  ,'
                                                                              District Director

                                                                                          Brenda Willlams, Esq.
              Corporate Human Resourc6s Manager                                           LAW OFFICE
              United Road Towing                                                          400 South Zang Blvd. Suite 1200
              18861 90th Avenue Suite E                                                   Dallas, TX 75208
              Mokena, IL 60448
          Case 3:20-cv-01589-G              Document 1          Filed 06/16/20         Page 9 of 10        PageID 9
En~csure with EEOC
Form 101-B (1111s1

                                         INFORMATION RELATED TO FILING SUIT
                                       UNDER THE LAWS ENFORCED BY THE EEOC

                        (This information relates to filing suit in Federal or State court under Federal law.
               If you also plan to sue claiming violations of State law, please be aware that time limits and other
                      provisions of State law may be shorter or more limited than those described below.)

PRIVATE SUIT RIGHTS
                                    Title Vil of the Civil Rights Act, the Americans with Disabilities Act (ADA),
                                    the Genetic Information Nondiscrimination Act (GINA), or the Age
                                    Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Nottce was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.
Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice Is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entiUed to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court If so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has Its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE SUIT RIGHTS            -    Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years {3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10- not 12/1/10 - in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION               --   Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-clay period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE                       -   All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

                     IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
         Case 3:20-cv-01589-G      Document 1   Filed 06/16/20   Page 10 of 10   PageID 10




Enclosures(s)


cc:
       Bernie K. Crotty
       United Road Towing
       18861 90th Avenue Suite E
       Mokena, IL 60448
